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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

   TTT FOODS HOLDING COMPANY LLC,
   a Florida limited liability company,
                   Plaintiff,
   v.                                                  Case No.: 9:16-cv-81798-DMM

   BEATRICE NAMM, an individual,
   JONATHAN NAMM, an individual, and
   DELUXE GOURMET SPECIALTIES LLC,
   a New Jersey limited liability company,
                 Defendants.
   ______________________________________/

                         AFFIDAVIT IN OPPOSITION TO PLAINTIFF’S
                            MOTION FOR SUMMARY JUDGMENT

   STATE OF FLORIDA
   COUNTY OF ORANGE

          BEFORE ME, the undersigned authority, personally appeared BEATRICE NAMM,

   known to me to be the person described herein, who, after being duly sworn, does state as

   follows:

                  1.     I am over the age of 21 and all statements made herein are based on my

   personal knowledge.

                  2.     I developed some unique formulae and recipes for spaghetti and barbecue

   sauces, and salsas (“Recipes”).

                  3.     Starting in 2006, without any prior business experience, I started to

   produce and sell spaghetti and barbecue sauces, and salsas, out of my home in New Jersey.

                  4.     I eventually organized Defendant DELUXE GOURMET SPECIALTIES

   LLC, a New Jersey limited liability company (“Deluxe”), and started doing the sauces and salsa

   business through Deluxe.
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                  5.      I am the sole manager and member of Deluxe.

                  6.      The Recipes were assets of Deluxe until they were transferred to the

   Judgment Debtor pursuant to the Asset Purchase Agreement on or about December of 2012.

                  7.      The Recipes were very successful and have significant value.

                  8.      In 2012, when the Recipes were transferred to the Judgment Debtor,

   Plaintiff TTT FOODS HOLDING COMPANY LLC, a Florida limited liability company

   (“Plaintiff”), paid me the sum $300,000.00 for 49% of the assets of Deluxe, the biggest asset of

   Deluxe being the Recipes.

                  9.      When Plaintiff sold its 49% ownership interest back to the Judgment

   Debtor in March of 2015, I, on behalf of the Judgment Debtor, agreed to pay Plaintiff the sum of

   $320,000.01, recognizing the significant value of the assets of Judgment Debtor; the most

   valuable of the assets being the Recipes.

                  10.     The Recipes have value today.

                  11.     The Recipes have had value at all times since March 15, 2015.

                  12.     The Recipes are assets of the Judgment Debtor.

                  13.     I believe the Recipes have a value of over $400,000.00 today.

                  14.     I believe that the value of the Recipes, at all times since March 2015, was

   well over the debt owed to Plaintiff.

                  15.     The Recipes are still available to Plaintiff and have value which exceeds

   the remaining debts of the Judgment Debtor.

                  16.     Neither I nor the Judgment Debtor have transferred to anyone any of the

   Recipes.

                  17.     There is no question that the Judgment Debtor is not now, nor as it ever
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   been, insolvent.

                   18.     Judgment Debtor was not insolvent on March 2015, nor at any other time

   when any of the transfers that form the subject matter of this lawsuit were made, nor is it

   insolvent today.

                   19.     The assets of Judgment Debtor exceed the amount of all the debts of

   Judgment Debtor, and that fact was true on March of 2015, it was true from March 2015 to June

   of 2016, and is still true today.

                   20.     I disagree with William G. King’s report and conclusion that the Judgment

   Debtor was insolvent at any time when any of the transfers that Plaintiff is alluding to in his

   undisputed facts statement submitted to the Court.

                   21.     JMT Food Group LLC, a Florida limited liability company (“JMT”), as

   nothing to do with Deluxe or the Judgment Creditor.

                   22.     On January 15, 2015, I organized JMT to manufacture and distribute

   hummus, a totally distinct product from the Recipes and the barbecue sauces and pastas and

   salsas that Judgment Debtor sold, and totally unrelated to the Judgment Debtor.

                   23.     Generally speaking, hummus is a Levantine dip or spread made from

   cooked, mashed chickpeas or other beans, blended with tahini, olive oil, lemon juice, salt and

   garlic.

                   24.     Hummus is not a spaghetti or barbecue sauce or a salsa.

                   25.     JMT has never been in the business of manufacturing or distributing

   spaghetti or barbecue sauces, or salsa.

                   26.     Neither Deluxe nor Judgment Debtor were ever in the business of

   manufacturing or distributing hummus.
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                  27.    Plaintiff was organized on December 11, 2012, by Donald K. Porges.

                  28.    Donald K. Porges was designated as the sole manager of Plaintiff, and as

   consistently been the sole manager of Plaintiff.

                  29.    Donald K. Porges is, and was at all times material hereto, a practicing

   certified public accountant with his own CPA firm.

                  30.    Donald K. Porges organized Bea’s Brooklyn’s Best LLC, a Florida limited

   liability company (“Judgment Debtor”), on December 11, 2012.

                  31.    Unbeknownst to me at that time, Donald K. Porges designated himself as

   the sole manager of Judgment Debtor with the Florida Division of Corporations, and has

   consistently held himself as the sole manager of Plaintiff until March 20, 2015, when I was

   designated the sole manager.

                  32.    Donald K. Porges was not supposed to be the sole manager.

                  33.    According to the Operating Agreement, there were supposed to be three

   (3) manager. Specifically, Judgment Debtor’s Operating Agreement provided that it would be

   under the control of the three named managers (i.e., Mrs. Namm, Eric Scholer and Donald K.

   Porges), with each manager having certain specific designated areas of authority.

                  34.    My authority was limited, according to the Operating Agreement, to

   “[m]arketing, securing new accounts, research and development and quality control”.

                  35.    Eric Scholer’s scope of authority, according to the Operating Agreement,

   was “[m]anaging the road show business, general administration (including financial,

   accounting, insurance and legal functions), marketing, negotiations and logistics”.

                  36.    Donald K. Porges’ scope of authority, according to the Operating

   Agreement, was “[f]inancial, accounting and insurance matters”. Obviously, Mr. Porges, by
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   designating himself the sole manager, had a lot more control than what was designated in the

   Operating Agreement.

                   37.     Plaintiff was in complete control of the finances, book keeping and

   records of the Judgment Debtor, including, but not limited to, he was responsible for keeping all

   financial records, invoicing customers, collecting accounts receivables, paying accounts

   payables, paying payroll (specifically, my compensation package), and accounting for all

   income and expenses, and was well aware at all times prior to at least March 27, 2015, of the

   financial status of the Judgment Debtor and how the Judgment Creditor was doing business, as

   well as the Judgment Debtor’s relationship with Deluxe.

                   38.     Plaintiff knew better than anyone else the Judgment Debtor’s ability to

   incur and service the obligations created by the promissory notes that form the debts that are the

   subject matter of this action (“Notes”).

                   39.     Plaintiff knew the Judgment Debtor’s financial condition at the time they

   decided to accept the Notes and they accepted the fact that its remedy for non-payment would be

   limited to collecting the debt from the Judgment Debtor.

                   40.     For Plaintiff to now claim that I concealed any information, or somehow

   perpetrated a fraud upon Plaintiff, by having the Judgment Creditor undertake the debt is

   ludicrous.

                   41.     I did not conceal, or attempt to conceal, any of the transfers that form the

   subject matter of this lawsuit, or that are alleged to be fraudulent by Plaintiff, nor did I intent to

   hinder, injure or defraud anyone by doing business by and through the Judgment Debtor. In fact,

   it is quite obvious from the checks themselves and the other bank records, as well as the fact that

   we have disclosed all the books and records to Plaintiff during the State Court proceedings, that
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   there was no attempt by me or anyone else on my behalf to conceal the nature of the transfers or

   the manner in which I was operating the Judgment Debtor after March of 2015.

                  42.     If I was trying to defraud someone, I certainly would not have made

   checks payable to my husband’s mortgage company, for example.

                  43.     All the monies I received from the Judgment Creditor were earned by me.

                  44.     The Judgment Debtor was my life and I devoted my full time to it, mostly

   after March of 2015.

                  45.     If anything had to be done to operate or manage the Judgment Debtor, it

   was up to me to get it done.

                  46.     I believed at the time, and still believe now, that I was entitled to the

   monies I received from the Judgment Debtor as compensation for my services to the Judgment

   Debtor, and I believe that my compensation was more than fair to the Judgment Debtor; in fact,

   but for my services to the Judgment Debtor, it would not be able to do any business.

                  47.     While Plaintiff had control of the Judgment Debtor, I was employed to

   promote and develop the products and I would travel around the country holding shows and my

   compensation, approved by Plaintiff, was a salary of $75,000.00 a year, an additional advance on

   future distributions in the amount of $75,000.00 a year, and reimbursement for meals, gas, travel

   expenses and other miscellaneous items, for an annual compensation package of over

   $150,000.00.

                  48.     From March 2015 to June of 2016, I was doing everything that I was

   doing before March of 2015 and, in addition thereto, I was also responsible for all the work

   Plaintiff was doing prior to March of 2015, but that I now needed to do or supervise.

                  49.     I tried to bring current the payment amounts that Plaintiff alleged were
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   owed on June of 2015, but Plaintiff would not let me pay the amounts owed.

                  50.     The only reason that the Judgment Debtor went out of business was

   because Plaintiff forced it out of business by interfering intentionally with the business

   relationship with its customers, refusing to allow it to make the monthly payments under the

   promissory notes, garnishing its bank account, and making it impossible for it to continue to do

   business.

                  51.     I tried keeping the Judgment Debtor operating after June of 2015 only

   because I thought that things would work out and Plaintiff would realize the mutual benefit to

   accepting payments under the promissory notes, as opposed to wanting to destroy the business.

                  52.     I have never concealed any assets of the Judgment Debtor.

                  53.     I have never concealed any transfers from the Judgment Debtor.

                  54.     During that time frame, Plaintiff employed and paid me, and/or was

   obligated to pay me, $150,000.00 a year ($75,000.00 as earned salary and $75,000.00 as an

   advancement on future distributions); an amount that Plaintiff believed to be reasonable and fair

   for the work Ms. Namm was doing during that time frame promoting the barbecue sauce.

                  55.     In January 2, 2015, Ms. Namm sued two of the principles of Plaintiff (i.e.,

   Jeffrey Brandon and Eric Scholer) for violating the Asset Purchase Agreement dated December

   11, 2012.

                  56.     The essence of that lawsuit was that Plaintiff, and/or its principals, failed

   to pay Ms. Namm the agreed amount of $150,000.00 a year, as agreed under the Asset Purchase

   Agreement.

                  57.     On or about March 27, 2015, as part of the settlement negotiations of the

   aforementioned lawsuit, Plaintiff relinquished control and ownership of Judgment Debtor to me
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   in exchange for certain promissory notes to be paid exclusively by Brooklyn’s Best LLC.

                  58.     At that point, my duties and responsibility increased to include all

   responsibilities previously undertaken by Plaintiff.

                  59.     There was no longer any division of labor and everything rested on my

   shoulders.

                  60.     Plaintiff, at all times material thereto, was represented by a group of

   attorneys who drafted the promissory note, which group of attorneys included John Page and

   Bernice Lee, the two (2) attorneys representing Plaintiff in this case.

                  61.     I did not sign or otherwise guarantee repayment of the promissory notes.

                  62.     Plaintiff, knowing full well the financial condition of the Judgment

   Debtor, and knowing me very well, agreed to accept the risks and consequences of Brooklyn’s

   Best LLC not repaying the said notes, and Plaintiff intentionally relinquished its ability to

   recover, in the event of a default, directly from me.

                  63.     On June 3, 2015, Plaintiff declared Judgment Debtor in default and

   refused any further payments under the notes.

                  64.     Prior to June 3, 2015, I attempted to pay all amounts due under the notes,

   but Plaintiff refused to accept payment.

                  65.     I later learned that Plaintiff’s attorney, John Page, had already began

   contacting my customers, as of June 1, 2015.

                  66.     That was done by Plaintiff’s attorney, John Page, sending the Judgment

   Debtor’s customers on June 1, 2015, the letter and enclosures attached as Exhibit “A” to the

   Judgment Debtor’s responsive pleading in the State Case filed by Plaintiff; a copy of the

   Judgment Debtor’s responsive pleading in the State Case is attached hereto and incorporated
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   herein as Exhibit “A”.

                   67.      The letter was on Mr. Page’s letterhead and starts by stating that Mr. Page

   represents Plaintiff “regarding its claim against Judgment Debtor (underline added).”

                   68.      The customers were being told by Mr. Page that there was a “claim”

   against the Judgment Debtor.

                   69.      In other words, the Judgment Debtor was delinquent in its obligations to

   Plaintiff or, put another way, the Judgment Debtor was not paying its bills.

                   70.      The letter then goes on to state that the customer has “an account owing to

   Judgment Debtor’s Best, LLC”.

                   71.      The customer is now being told that the customer owes monies to

   Judgment Debtor.

                   72.      That statement is being made without Plaintiff knowing if the customer

   actually owed anything to the Judgment Debtor at that particular time, and was insulting to the

   customer because it infers that the customer is delinquent and owes Judgment Debtor monies

   that it has not timely paid.

                   73.      Mr. Page then provides the customer with a copy of the promissory notes.

                   74.      Mr. Page then states to the customer that Judgment Debtor “is now in

   default” under the “promissory notes and security agreements” and tells the customer that

   payment “is to be made to” Mr. Page.

                   75.      Mr. Page also attached his wiring instructions.

                   76.      My customers were shocked at having received the letters and enclosures,

   and their reaction was mixed.

                   77.      Costco, for example, stop doing business with the Judgment Creditor.
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                  78.    The Judgment Debtor was willing and able to bring the payments current,

   but Mr. Page refused to allow that to happen and insisted that attorney fees in the amount of

   $12,585.00 had already accrued as of June 11, 2015 and would need to be paid; the email string

   is attached hereto as Exhibit “B”.

                  79.    Plaintiff’s Exhibit 29 purports to state that I took $120,075.32 from

   Judgment Debtor; that is not true. From the $120,075.32, at least $39,428.03 were ordinary

   business expenses of the Judgment Debtor. I have composed a list which states the purpose for

   each withdrawal, which I have attached hereto and incorporate herein as Defendants’ Exhibit

   “C”.

                  80.    Plaintiff’s Exhibit 30 purports to state that I took $119,105.88 from

   Deluxe; that is not true. From the $119,105.88, at least $59,558.38 were business expenses of

   the Judgment Debtor. I have composed a detailed listing which states the purpose for each

   withdrawal, which I have attached hereto and incorporate herein as Defendants’ “D”.

                  81.    From March of 2015 to June of 2016, I loaned Judgment Debtor a total

   sum of $72,564.67, which came from Defendant Jon Namm (“Mr. Namm”) and my savings

   account, which total amount included a transfer from Mr. Namm’s 401 K Plan in the amount of

   $15,500.00. I have attached hereto and incorporate herein the chart reflecting the loans I made

   to Judgment Debtor as Defendants’ Exhibit “E”.

                  82.    The amounts in Plaintiff’s Exhibits 29 and 30, minus the ordinary

   operating expenses reflected in Defendants Exhibits “B” and “C”, were compensation for my

   services to the Judgment Debtor. Therefore, my compensation was $72,739.38 for all the work I

   did for Judgment Debtor from March 2015 until the present date.

                  83.    All the monetary compensation I received (i.e., $72,739.38) for working
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   for the Judgment Debtor after March of 2015 directly benefitted the Judgment Debtor and was

   less than what would have been reasonable to pay me for my services. Also, but for my work for

   the Judgment Debtor after March 2015, the Judgment Debtor would have gone out of business in

   June 2015, instead of June of 2016, when Plaintiff made it impossible to continue doing

   business.

                  84.     As to Plaintiff’s Statement of Undisputed Facts ¶41 and ¶42, the

   $11,365.00 and $3,718.89 belonged to JMT and not Deluxe or Judgment Debtor. The customer

   mistakenly sent the check to Deluxe.

                  85.     As to Plaintiff’s Statement of Undisputed Facts ¶9: Plaintiff was

   repeatedly instructed by me to contact the customers and advise them that the Judgment Debtor

   is the company doing business, not Deluxe, and to instruct the customers to forward payment to

   the Judgment Creditor not Deluxe. Plaintiff refused to do so. Instead, Plaintiff continued to

   accept checks and deposits made payable to Deluxe, endorsing many of the checks as “Twin

   Tower Trading Inc” and/or “Bea’s Brooklyn’s Best LLC”, and depositing them in Bea’s

   Brooklyn’s bank account. I have attached copies of those canceled checks, as Exhibit “F”.

   Plaintiff controlled and made the deposits of all checks owed to Bea’s Brooklyn, whether or not

   the check was made payable to Deluxe or the Judgment Creditor up to March 27, 2015.

                  86.     As to Plaintiff’s Statement of Undisputed Facts ¶10: The transcript speaks

   for itself and does not support that statement. As to the second sentence, I did testified to that

   affect but I was mistaken. The reason why those checks were deposited in Deluxe was because

   the checks were made payable to Deluxe.

                  87.     As to Plaintiff’s Statement of Undisputed Facts ¶36: I understood the

   interrogatory to be asking about transfer of personal property and that is the way I answered that
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   interrogatory. You will note that the very next interrogatory request information on “money”

   and at that time the Judgment Debtor had provided all its books and records, as well as his

   accountant’s deposition had been taken and Plaintiff had in its possession all the books and

   records of Plaintiff.

                   88.     As to Plaintiff’s Statement of Undisputed Facts ¶13: I disagree that on

   April 27, 2015, the Judgment Debtor defaulted on the payments due under the Notes. That is

   false. The Judgment Debtor was not in default under the Notes on April 27, 2015.

                   89.     As to Plaintiff’s Statement of Undisputed Facts ¶31: It is misleading and

   false to state that Deluxe and the Judgment Creditor sale the same products. Deluxe has not sold

   anything since 2012; all the selling has been done by the Judgment Creditor, even if checks were

   sent to the Judgment Creditor in the name of Deluxe. Plaintiff was repeatedly instructed by me

   to contact the Judgment Debtor’s customers and advise them that the Judgment Creditor is the

   company doing business and to instruct them to forward payment to the Judgment Creditor,

   instead of Deluxe.

                   90.     As to Plaintiff’s Statement of Undisputed Facts ¶33: I do not know who

   “Deluxe Gourmet”, but Deluxe is not the same company as the Judgment Creditor; they are two

   separate and distinct companies.




   AFFIANT SAYETH NOTHING FURTHER.
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                                            Submitted by:
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